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AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing



                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                           District of Nevada

                  United States of America                         )
                             v.                                    )      Case No.               2:14-mj-126-NJK
                                                                   )
                 Juan Carlos Padilla-Loredo,                       )
                             Defendant                             )

                                                  CONTINUED DETENTION HEARING



          A continued detention hearing at the request of the Defendant in this case is scheduled as follows:

          Lloyd D. George Federal Courthouse
Place:                                                                    Courtroom No.:      3A
          333 Las Vegas Boulevard South
          Las Vegas, Nevada 89101                                                             Monday, February 24, 2014,
          Before the Honorable Magistrate Judge Nancy J. Koppe            Date and Time:
                                                                                              at 1:30 p.m.

        IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date:         Feb 21, 2014
                                                                                             Judge’s signature

                                                                                         NANCY J. KOPPE
                                                                                UNITED STATES MAGISTRATE JUDGE
                                                                                           Printed name and title
